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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE #: 9:19-cv-80825-DMM


  JENNIFER QUASHA, on behalf of
  her son, H.Q., a minor,

         Plaintiff,

  vs.

  CITY OF PALM BEACH GARDENS,
  FLORIDA,

         Defendant.
                                          /

                        APPENDIX IN SUPPORT OF DEFENDANT’S
                          MOTION FOR SUMMARY JUDGMENT

         Defendant, CITY OF PALM BEACH GARDENS, by and through its undersigned counsel,
  and pursuant to Rule 56, Federal Rules of Civil Procedure, and Rule 7.5, Local Rules for the
  Southern District of Florida, hereby files this Appendix in support of its Motion for Summary
  Judgment.

  Tab 1 :        Deposition transcript of Anthony Badala dated November 11, 2019

  Tab 2 :        Deposition transcript of Seth Abrams dated November 11, 2019

  Tab 3 :        Deposition transcript of Jennifer Quasha dated August 27, 2019

  Tab 4 :        Deposition transcript of Daniel Prieto dated November 13, 2019

  Tab 5 :        Deposition transcript of Michael Galluci dated November 11, 2019

  Tab 6 :        Deposition transcript of Stephen Stepp dated November 13, 2019

  Tab 7 :        Deposition transcript of Dr. Elena Perez dated December 16, 2019,
                 together with exhibits


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  Tab 8 :         Declaration of Stephen Stepp dated August 16, 2019

  Tab 9 :         Declaration of Daniel Prieto

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 13th day of January, 2020, I electronically filed the

  foregoing document with the Clerk of Court by using the CM/ECF system or by email to all parties.

  I further certify that I either mailed the foregoing document and the Notice of Electronic Filing by

  first class mail to any non CM/ECF participants and/or the foregoing document was served via

  transmission of Notice of Electronic Filing generated by CM/ECF to any and all active CM/ECF

  participants.



                                                 BY:    /s/E. Bruce Johnson
                                                       E. BRUCE JOHNSON
                                                       FLA. BAR NO. 262137
                                                 BY:    /s/Scott D. Alexander
                                                       SCOTT D. ALEXANDER
                                                       FLA. BAR NO. 057207
                                                       JOHNSON, ANSELMO, MURDOCH,
                                                       BURKE, PIPER & HOCHMAN, P.A.
                                                       Attorneys for Defendant, City
                                                       2455 East Sunrise Boulevard, Suite 1000
                                                       Fort Lauderdale, FL 33304
                                                       954/463-0100 Telephone
                                                       954/463-2444 Facsimile
                                                       Johnson@jambg.com / Young@jambg.com
                                                       Alexander@jambg.com




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                                      SERVICE LIST


  MATTHEW W. DIETZ, ESQ.
  DISABILITY INDEPENDENCE GROUP, INC.
  2990 SW 35th Avenue
  Miami, FL 33133
  (305) 669-2822 (Phone)
  (305) 442-4181 (Fax)
  mdietz@justdigit.org
  aa@justdigit.org



  E. BRUCE JOHNSON, ESQ.
  SCOTT D. ALEXANDER, ESQ.


  JOHNSON, ANSELMO, MURDOCH,
  BURKE, PIPER & HOCHMAN, PA
  Attorneys for Defendant
  2455 E. Sunrise Blvd., Suite 1000
  Fort Lauderdale, FL 33304
  johnson@jambg.com
  alexander@jambg.com
  (954) 463-0100 (Phone)
  (954) 463-2444 (Fax)




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